

Gomes v Vornado 640 Fifth Ave. L.L.C. (2021 NY Slip Op 03662)





Gomes v Vornado 640 Fifth Ave. L.L.C.


2021 NY Slip Op 03662


Decided on June 10, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 10, 2021

Before: Manzanet-Daniels, J.P., Gische, Oing, Shulman, JJ. 


Index No. 155216/17 595669/17 Appeal No. 14042 Case No. 2020-02922 

[*1]Anthony Gomes, Plaintiff,
vVornado 640 Fifth Avenue L.L.C. et al., Defendants-Respondents, DAL Electrical Corporation et al., Defendants. Shawmut Woodworking &amp; Supply, Inc., Third-Party Plaintiff-Respondent,


Farber Brocks &amp; Zane L.L.P., Garden City (Lester Chanin of counsel), for appellant.
Law Office of Eric D. Feldman, Melville (Dominic Zafonte of counsel), for respondents.



Order, Supreme Court, New York County (Barbara Jaffe, J.), entered May 6, 2020, which, to the extent appealed from as limited by the briefs, denied third-party defendant's (Curtis) motion for summary judgment dismissing the third-party claim for contractual indemnification, unanimously affirmed, without costs.
Curtis failed to establish prima facie that plaintiff's injuries were not "caused in whole or in part by any act or omission of [it] or those employed by it, or working under those employed by it at any level," as required by its subcontract with third-party plaintiff (Shawmut), the general contractor, and that therefore Shawmut's contractual indemnification claim should be dismissed. The causation requirement is satisfied by evidence that acts and/or omissions of plaintiff, a Curtis employee, in tripping over a power cord caused his injuries (see Ging v F.J. Sciame Constr. Co., Inc., 193 AD3d 415 [1st Dept 2021]). Shawmut is not required to show that the accident was proximately caused by Curtis's negligence or other fault (cf. Burlington Ins. Co. v NYC Tr. Auth., 29 NY3d 313, 324 [2017]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 10, 2021








